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AO 106(Rev.04/010) Application for Search Warrant                   AUTHORIZED AND APPROVED/DATE:_^^^^^^^^^,^^^

                                        United States District Court
                                                                     for the
                           WESTERN                               DISTRICT OF                            OKLAHOMA

               In the Matter ofthe Search of                          )
           (Briejly describe the properly lo be search                )
           Or identify lite person by name and address)               )
PROPERTY KNOWN AS:                                                  ) Case No,
      Assigned call number:(312)579-5444                              )
      IMEI: 354842093463658
IN THE POSSESSION OF: Verizon Wireless
                                                                      )
                                                                      )
                                                                                                                FILED
HEADQUARTERED AT: 180 Washington Valley Road )                                                                     FEB 28 t019
                Bedminster, NJ 07921         )                                                                                          CLERK
                                                APPLICATION FOR SEARCH WARRANT                                                      "'^DEPUTY
        I, a federal law enforcement officer or attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following [Person or Property?] (identify the person or describe
property to be searched and give its location):

           See Attachment A,which is attached and incorporated by reference.

Located in the Western District of Oklahoma, there is now concealed {identify the person or describe the property to be
seized):

           See Attachment B, which is attached and incorporated by reference.

           The basis for the search under Fed. R. Crim.P.41(c) \s,{check one or more):
               El    evidence ofthe crime;
                El      contraband, fruits of crime, or other items illegally possessed;
                13      property designed for use, intended for use, or used in committing a crime;
                □       a person to be an'ested or a person who is unlawfully restrained.

           The search is related to a violation of:
           Code Section                                                               Offense Description
           21 U.S.C. § 846 and                                                        Drug conspiracy; and
           21 U.S.C. § 841(a)(1)                                                      Possession with intent to distribute.

The application is based on these facts:

See attached Affidavit of Special Agent Shan Spain, Drug Enforcement Agency, which is incorporated by reference
herein.


                3       Continued on the attached sheet(s).
                □       Delayed notice of                 days (give exact ending date if tmre than 30 days) is requested under 18 U.S.C. §
3103a, the basis of which is set forth on the attached sheet(s).


                                                                                               Applicant's signature
                                                                        SHAN SPAIN
                                                                        Special Agent
                                                                        Drug Enforcement Administi-ation
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Sworn to before me and signed in my presence.


Date:      Fsb 28; 2019                                    £Rigvrt^unA^
                                                                  Judge's signaliire

City and State: Oklahoma Citv. Oklahoma         SHON T. ERWIN.U.S. Magistrate Judge
                                                                Printed name and title
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                          IN THE UNriED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA


IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH THE
CELLULAR DEVICE ASSIGNED CALL
                                                     CaseNo.M-I9-106-STE
NUMBER(312)579-5444, WITH
INTERNATIONAL MOBILE EQUIPMENT
IDENTITY 354842093463658 THAT IS STORED
AT PREMISES CONTROLLED BY VERIZON
WIRELESS


                               AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT


       I, Shan Spain being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant for information

associated with a certain cellular telephone assigned call number(312)579-5444, with Intemational

Mobile Equipment Identity(IMEI)354842093463658("the SUBJECT PHONE"),that is stored at

premises controlled by Verizon Wireless, a wireless telephone service provider headquartered at 180

Washington Valley Road,Bedminster, NJ 07921.

       2.      The information to be searched is described in the following paragraphs and in

Attachment A. This affidavit is made in support ofan application for a search warrant under 18 U.S.C. §

2703(c)(1)(A) to require Verizon Wireless to disclose to the government copies ofthe information further

described in Section I of Attachment B. Upon receipt ofthe information described in Section I of

Attachment B,government-authorized persons will review the information to locate items described in

Section n of Attachment B.

        3.     I have been a special agent with the Drug Enforcement Administration(DEA)for over

eighteen years. I served as an Oklahoma Highway Patrol Trooper for approximately two and a half years

before becoming employed with the DEA.I have received formal training through the DEA,and attended

numerous training seminars dealing with the investigation of controlled substances. During my

employment in law enforcement,I have been involved in Title III investigations, interviews with
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individuals who distribute illegal drugs, management of confidential informants, controlled purchases of

illegal drugs, seizure oflarge quantities ofillegal drugs, the execution ofsearch warrants, execution of

tracking warrants, and the seizure of large amounts of drug proceeds, and the arrest ofindividuals

distributing illegal drugs. I and agents working under me have experience using historical cell site data to

investigate controlled substance offenses, which can help identity the location of a suspect.

        4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, officers, and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set forth all

of my knowledge about this matter.

        5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of21 U.S.C. §§ 846 and 841(a)(1) have been committed by Enrique Lara (Lara), who was

indicted for those crimes on November 7,2018,in case number CR-18-273-D. The case is set for trial on

March 12,2018. There is also probable cause to search the information described in Attachment A for

evidence, instrumentalities, contraband, or fimits ofthese crimes as further described in Attachment B.

                                               PROBABLE CAUSE


        6.       On October 22,2018,Lara was arrested in Norman, Oklahoma, by Darin Morgan,a

Detective Sergeant with the Norman Police Department's Special Investigations Section Criminal

Interdiction Unit. Detective Morgan had observed a yellow tractor trailer parked at a Norman, Oklahoma,

hotel parking lot. He noticed that the U.S. Department ofTransportation number on the tractor trailer was
in the 32 million range, when it should have been in the 3 million range, as the U.S.DOT numbers do not
go as high as 32 million. He observed the driver (later identified as Lara)ofthe tractor trailer(and a
female)emerge from the hotel. He spoke with the driver, who provided his bill of lading. Detective

Morgan ultimately determined that the bill oflading was fake. Pursuant to Lara's(and the female's)
consent, Detective Morgan searched the tractor trailer. Several hours later, he discovered that the tractor

trailer's passenger side 150 gallon diesel tank was filled with approximately 1,260 pounds ofa liquid that
tested positive at a DEA lab for methamphetamine. Lara was arrested that day. As stated above,he was
                                                      2
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later indicted. Detective Morgan seized the SUBJECT PHONE from Lara, which he was seen using. A

forensic analysis ofthe phone determined that its associated phone number and IMEI are those described
in paragraph 1.1 am requesting this search warrant to determine Lara's whereabouts in the days and hours
leading up to his October 22,2018 arrest.

        7.      In my training and experience,I have learned that Verizon Wireless is a company that

provides cellular telephone access to the general public. I also know that providers of cellular telephone
service have technical capabilities that allow them to collect and generate information about the locations

of the cellular telephones to which they provide service, including cell-site data, also known as

"tower/face information" or "cell tower/sector records." Cell-site data identifies the "cell towers"(i.e.,

antenna towers covering specific geographic areas) that received a radio signal from the cellular telephone
and,in some cases, the "sector"(i.e., faces ofthe towers)to which the telephone connected. These towers
are often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural areas.
Fuithermore, the tower closest to a wireless device does not necessarily serve every call made to or from

that device. Accordingly, cell-site data provides an approximate location ofthe cellular telephone but is
typically less precise than other types oflocation information, such as E-911 Phase H data or Global
Positioning Device("GPS") data.

        8.       Based on my training and experience,I know that Verizon Wireless can collect cell-site
data about the SUBJECT PHONE. I also know that wireless providers such as Verizon Wireless typically

collect and retain cell-site data pertaining to cellular phones to which they provide service in their normal
course of business in order to use this information for various business-related purposes. According to

Verizon Wireless's Law Enforcement Guide,they keep the requested data for one year, which would
include October 2018.

         9.      Based on my training and experience,I know that Verizon also collects per-call
 measurement data, which Verizon Wireless also refers to as the "real-time tool"("RIT"). RTT data
 estimates the approximate distance ofthe cellular device from a cellular tower based on the speed with
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which signals travel between the device and the tower. This information can be used to estimate an

approximate location range that is more precise than typical cell-site data.

        10.     Based on my training and experience,I know that wireless providers such as Verizon

Wireless typically collect and retain information about their subscribers in their normal course of

business. This information can include basic personal information about the subscriber, such as name and

address, and the method(s) of payment(such as credit card account number)provided by the subscriber to

pay for wireless telephone service. I also know that wireless providers such as Verizon Wireless typically
collect and retain information about their subscribers' use of the wireless service, such as records about

calls or other communications sent or received by a particular phone and other transactional records, in

their normal course of business. In my training and experience, this information may constitute evidence

of the crimes under investigation because the information can be used to further identify the SUBJECT

PHONE'S user and may assist in the identification of co-conspirators.

        11.     Based on the foregoing,I request that the Court issue the proposed search warrant,

pursuant to 18 U.S.C.§ 2703(c) and Federal Rule of Criminal Procedure 41.
        12.     I further request that the Court direct Verizon Wireless to disclose to the govemment any

information described in Section I of Attachment B that is within its possession, custody, or control.

Because the warrant will be served on Verizon Wireless, who will then compile the requested records at a

time convenient to it,reasonable cause exists to permit the execution ofthe requested warrant at any time

in the day or night.

                                                        Respectfully submitted.



                                                        Shan Spain
                                                        Special Agent
                                                        Drug Enforcement Administration
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Subscribed and sworn to before me on_ Feb28,2019 ,2019


SHONT.ERWM
UNITED STATES MAGISTRATE JUDGE
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                                          ATTACHMENT A


                                       Property to Be Searched

       This warrant applies to records and information associated with the cellular telephone assigned

call number(312)579-5444, with International Mobile Equipment Identity 354842093463658 ("the

Account"), that are stored at premises controlled by Verizon Wireless("the Provider"), headquartered at

180 Washington Valley Road,Bedminster, NJ 07921.
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                                       ATTACHMENTS


                                 Particular Things to be Seized

I. Information to be Disclosed by the Provider

    To the extent that the information described in Attachment A is within the possession, custody, or

control of the Provider,including any information that has been deleted but is still available to the

Provider or that has been preserved pursuant to a request made under 18 U.S.C.§ 2703(f),the

Provider is required to disclose to the government the following information pertaining to the

Account listed in Attachment A for the time period October 1,2018 through October 23,2018:

        a. The following information about the customers or subscribers ofthe Account:

                 i. Names (including subscriber names, user names,and screen names);

                 ii. Addresses(including mailing addresses,residential addresses, business
                     addresses, and e-mail addresses);

                iii. Local and long distance telephone connection records;

                iv. Records ofsession times and durations, and the temporarily assigned network
                     addresses(such as Internet Protocol("IP") addresses) associated with those
                     sessions;

                 V. Length ofservice (including start date) and types ofservice utilized;

                vi. Telephone or instrument numbers(including MAC addresses. Electronic Serial
                    Numbers("ESN"),Mobile Electronic Identity Numbers("MEIN"), Mobile
                    Equipment Identifier("MEID"); Mobile Identification Number("JVON"),
                    Subscriber Identity Modules("SIM"), Mobile Subscriber Integrated Services
                    Digital Network Number("MSISDN");International Mobile Subscriber Identity
                    Identifiers("IMSI"), or International Mobile Equipment Identities("IMEI");

                vii. Other subscriber numbers or identities (including the registration Internet
                     Protocol("DP") address); and

               viii. Means and source of payment for such service (including any credit card or bank
                     account number)and billing records.

         b. All records and other information (not including the contents ofcommunications)relating

             to wire and electronic communications sent or received by the Account,including:

                  i. the date and time ofthe communication,the method ofthe communication, and

                     the source and destination ofthe communication (such as the source and

                                                  2
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                        destination telephone numbers (call detail records), email addresses, and IP

                        addresses); and

                    ii. information regarding the cell tower and antenna face (also known as "sectors")

                        through which the communications were sent and received: as well as per-call

                        measurement data (also loiown as the "real-time tool" or"RTT" data),

   n. Information to be Seized by the Government

        All information described above in Section I that constitutes evidence,ftuits, contraband,and

instrumentalities of violations of 21 U.S.C. §§ 846 and 841(a)(1)involving Enrique Lara during the

period October 1,2018,through October 23,2018.

        Law enforcement personnel(who may include, in addition to law enforcement officers and

agents, attomeys for the government, attorney support staff, agency personnel assisting the government in

this investigation, and outside technical experts under government control) are authorized to review the

records produced by the Provider in order to locate the things particularly described in this Warrant.
